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   From:                             Felipe Boshell <fboshell@caracoltv.com.co>
   Sent:                             Monday, July 22, 2013 5:51 PM
   To:                               Montenegro, Melanie (NBCUniversal)
   Cc:                               CATALINA PORTO URDANETA; Alejandro Toro Canal
   Subject:                          FW: Adendum Telemundo
   Attachments:                      20130717 Sequel ESDLC Telemundo .doc


   Hola Melanie, como estas?

   Adjunto el documento con nuestros comentarios.

   Quedo pendiente,

   Gracias
   Felipe Boshell




   De: Catalina Porto <cportour@caracoltv.com.co>
   Fecha: Fri, 19 Jul 2013 12:28:52 -0500
   Para: Alejandro Toro Canal <atorocan@caracoltv.com.co>, Felipe Boshell <fboshell@caracoltv.com.co>
   Asunto: Adendum Telemundo

   Hola les mando el documento con los cambios para el Sequel de ESDLC.

   Saludos,

   CPU.




                                                              1

                                                                                                Exhibit "D"
CONFIDENTIAL                                                                                              CR1.01.0747
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                                                                                          MELANIE M. MONTENEGRO
                                                                                          VP,Business & Legal Affairs
                                                                                          Dir 305 889-7929
      Tl'ILENUEgig)                                                                       Melanie.Montenegro*Inuni.com
      A Division of NBC Universal




    July 9,2013


    VIA CERTIFIED MAIL & ELECTRONICE-MAIL (/boshelkacaracoltv.com.co)


    Mr. Felipe Boshell
    General Manager
    Caracol Television S.A.
    Calle 103,#69B-43
    Bogota D.C.
    Colombia


             Re:      El Senor de Los Cielos Sequel


    Dear Mr. Boshell,

            This offer letter is being provided to you pursuant to Section 5(b) of the Co-Production
    Agreement dated as of October 25, 2012, as amended on March 11, 2013 (collectively, the
    "Agreement") between Telemundo Television Studios, LLC ("TTS") and Caracol Television, S.A.
    ("Caracol"). We are pleased to confirm the offer by TTS to produce a sequel ofthe telenovela "El Senor
    de los Cielos"(the "Series") as communicated to you via e-mail on June 18,2013, and consistent with
    the provisions more fully described in the Term Sheet(the "Term Sheet")attached hereto as Annex A.
    All capitalized terms used but not defined herein shall have the meaning ascribed to such term in the
    Agreement.

           By executing this Offer Letter, you hereby agree that this Term Sheet constitutes a binding
    agreement with respect to the transactions contemplated herein and acknowledge that Caracol has
    agreed to the terms and conditions of the Term Sheet which will be incorporated into two subsequent
    long-form agreements as follows: (i) a License Agreement between Caracol and TTS; and; (ii) a
    Distribution Agreement between Caracol and Telemundo Internacional,LLC("TI").

            This Offer Letter, including the Term Sheet,shall be in all respects governed by and construed in
    accordance with the laws ofthe State ofFlorida. All claims arising out of or relating to the Offer Letter
    shall be litigated exclusively in the federal or state courts of Miami Dade, Florida, and each party
    consents to personal jurisdiction in those courts. No amendment, modification or discharge of this
    Agreement, and no waiver hereunder shall be valid or binding unless set forth in writing and duly
    executed by the party against whom enforcement of the amendment, modification, discharge or waiver
    is sought. No delay or failure at any time on the part of any party in exercising any right, power or

                                                   2290 Wee*8.Avenue,Hialeah, Florida 33010
                             'Florida Authorized House Counsel and Licensed and a Member ofThe New York State Bar




                                                                                                                         Exhibit "D"
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    privilege under this Offer Letter, or in enforcing any provision of the Term Sheet, shall impair any such
    right, power or privilege,or be construed as a waiver of such provision,or be construed as a waiver of
    any default or acquiescence therein,or shall affect the right of such party thereafter to enforce each and
    every provision ofthis Offer Letter in accordance with its terms.

           Should you have any questions,as always, please feel free to contact me.


    Sincerely,

    TELEMUNDO TELEVISION STUDIOS,LLC




    ACCEPTED AND AGREED:

    CARACOL TELEVISION S.A.




           cc:     Mr. Marcos Santana(Alarcos.SantantOnbennicom)
                   Mr. Joshua Mintz(Joshua.Alintz@nlicuni.com)




                                                                                                                 Exhibit "D"
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                                                 Annex A

                                             TERM SHEET

     1. Parties:              a. Caracol Television S.A.("Caracol")
                              b. Telemundo Television Studios,LLC("TTS")
                              c. Telemundo Internacional,LLC("Tr)

    2. Date:                 As of July 9,2013

     3. Seauel:               a. TTS will develop, produce,own,and distribute a sequel to the
                                 "El Sefior de los Cielos"(the "Series")for the exhibition and
                                 exploitation in the United States,its territories, as well as
                                 throughout the world (the "Sequel").

                              b. The Sequel will be based on the original format ofthe Series,
                                 which TTS shall have all right to use all elements(e.g.,
                                 characters,story, scenarios, locales,etc.)derived from the
                                 Series and any new elements added by TTS for purposes of
                                 creating the Sequel. For claritv. TTS will not be entitled to use
                                 images and content licensed IA. Carzicol for the Series.‘.xe,-,1 as
                                 agreed mutually by the Parties in a case-by-case scenario.

    4. Number ofEpisodes:,   The Sequel shall consist ofapproximately sixty(60)episodes of
       Length:               approximately forty-two(42)minutes in length.

     5. Production:          Telemundo shall have the exclusive right to produce and exploit the
                             Sequel, provided that Caracol shall have certain exhibition rights as
                             granted herein.

    6. Development &         TTS shall have exclusive creative decisions,development ofbudgets
       Control ofthe Sequel: and casting, among other matters in the development and production
                             ofthe Sequel.

     7. Ownership:           From inception through all stages ofcompletion,the Sequel and all
                             elements thereof,including the underlying works ofthe Series, will
                             be exclusively owned by TTS throughout the world.

                             TTS will own and control all exclusive, irrevocable and perpetual
                             right, title and interest(including copyright), throughout the universe
                             in and to the Sequel and all derivatives of the Sequel, and all
                             elements, underlying works or portions thereof, including all raw
                             footage, from the inception of production, in any and all media and
                             formats, now known or hereafter devised, in perpetuity, including
                             without limitation all literary, dramatic, or other material contained
                             therein, and the results and proceeds of the services in connection




                                                                                                       Exhibit "D"
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                               therewith.

     8. License:               During the Term, Telemundo grants to Caracol a limited,exclusive
                               license to exhibit the Series in Colombia,and the name,logos and
                               related trademarks in connection with the Sequel and promotion
                               thereof.
    9. Caracol Exhibition       a) Territory: Caracol shall have the exclusive exhibition license to
       License:                    the Sequel in Colombia (the "Territory").
                                b) Term: Caracol shall have the right to run the Sequel for a
                                   period ofthree(3)years in the Territory at zero cost
                                c) Runs: Three(3)runs.
                                d) Media: Free-tv, pay-tv, over-the-air broadcast and on video on
                                   demand digital platforms in the Territory,excluding download
                                   to own,electronic sell through, home entertainment and any
                                   allied and ancillary rights related to the Sequel("Ancillary
                                   Rights').
                                e) Authorized Language: Spanish language only.
                                                                                                                      : : : : : : : : .•
                                t) Sublicensing: Caracol may not sublicense the exhibition rights                     : • : •: : : : :: • : : :
                                   granted by TTS to any third party.                                            : • : • : • :• : • : • : • :• • : • : • : •: •:

     10. Caracol International TI will have the exclusive right to distribute, adapt,and sell all
         Profit Participation: advertising in connection with the Sequel, including but not limited
                               to,advertising spots,sponsorship and product integration and                                                               • :•
                                                                                                                                                          :•:
                               marketing in the Distribution Territory.                                                                                   •:•
                                a. Distribution Territory: Worldwide,subject to the license                           : : :: : • • • •: : : : •: • : :
                                   granted to Caracol herein.                                                                 : :             : :•:         : :     : :
                                                                                                                       : : :: : :             : : : : :• : : : : : : :
                                b. Media: All media, including Ancillary Rights.                                     • : : :: : :             : : : : : : •: : : : • : :
                                                                                                                .• .• .• • • .•:.• :.:.• :.•: ::: : : : : : : • : • : • : :• : •
                                c. Participation in ales: TI shall pay Caracol 15% ofthe net                           Deleted: Foke
                                   receipts actually received by TI generated by the exploitation of
                                   the Sequel, less the Distribution Feejt is expressly understood      c;..„
                                                                                                                   {Deleted:
                                   that Caracol shall not be entitled to distribution fees from the                f Deleted: and the Production Budget ofthe Sequel.
                                   exploitation ofthe Sequel intEWatfiliatedjiistribution stations               (-Commented [CP1.]: Define affiliated. Is NBC included?
                                   and channels. Caracol shall be entitled to participate in any sale
                                   of the Sequel outside the United States and outside the screen of
                                                                                                                   f   Deleted: the United States, and the

                                                                                                            :.:• •
                                   -. .-1e4111.c.9.0.
                               "Distribution Fee" means a 25% distributor fee,less distribution
                               fees and expenses, marketing, advertising and promotional expenses,




                                                                                                                                                 Exhibit "D"
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                              and any applicable taxes.
                              "Production Budget" means all costs and expenses associated with
                              the below-the-line and above-the-line production and delivery
                              elements associated,directly or indirectly, with the Sequel.

     11.   Governing Law:     This Term Sheet shall be in all respects governed by and construed
                              in accordance with the laws ofthe State ofFlorida.

     12.   Confidentiality:   Any information supplied by either party to the other shall be
                              deemed proprietary and shall be treated as strictly confidential by the
                              receiving party. Except as may be required by law or pursuant to
                              subpoena or order of any judicial, legislative, executive, regulatory
                              or administrative body,the receiving party shall not copy or disclose
                              such information to a third party, except as is necessary to
                              implement this Term Sheet or as may be approved in writing by the
                              other party, or as may be in the public domain through no fault of
                              the receiving party.




                                                                                                        Exhibit "D"
CONFIDENTIAL                                                                                                      CR1 01.0752
